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                                                U.S. Department of Justice
[Type text]
                                                    United States Attorney
w                                                   Southern District of New York

                                                    The Jacob K. Javits Federal Building
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                                                    January 21, 2025

BY EMAIL
Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY

       Re:     United States v. Miles Guo, S3 23 Cr. 188 (AT)

Dear Judge Torres:

        The Government writes in response to the Court’s January 14, 2025 email. The
Government has reviewed Guo’s single-page CJA financial affidavit and shares the Court’s
“skeptic[ism] of Mr. Guo’s claimed indigency.” Jan. 14 email. As discussed below, there is ample
authority for the Court to inquire further into Guo’s purported inability to fund his defense. But
the Government is seriously concerned that extended litigation of Guo’s application would
advance his improper goal of further delaying his sentencing. Accordingly, the Government
respectfully reiterates its recommendation that the Court swiftly resolve Guo’s change-of-counsel
motion by requiring his retained trial counsel to remain engaged so that Guo may be timely
sentenced and his victims can receive restitution for their losses.

       The Court is Correct to Doubt the Truthfulness of Guo’s Financial Affidavit

        Like the Court, the Government is “skeptical of Mr. Guo’s claimed indigency.” Jan. 14
email. Guo is a convicted fraudster with a history of financial deception. His declaration of
bankruptcy in 2022 came on the heels of a New York judge holding him in contempt of court for
engaging in a “shell game” to obscure his ownership of a nearly $40 million yacht. See Pacific
Alliance Asia Opportunity Fund L.P. v. Kwok Ho Wan et al., No. 652077/2017, Dkt. 1181 at 6
(N.Y. Cty. Sup. Ct. Feb. 9, 2022). Testimony in his federal criminal trial established that Guo
attempted to obstruct the bankruptcy proceedings he commenced. See Trial Tr. 1522:7-1523:19
(Ya Li’s testimony that a lawyer working for Guo asked her to sign a false affidavit swearing to
lies about Guo’s assets). Witness testimony also established that Guo controlled wealth that was
nominally held by his children. See, e.g., Trial Tr. 2904:3-2905:11 (describing how Guo’s
personal lawyer provided documentation purporting to show that Guo’s Mahwah Mansion
residence was paid for by Guo’s daughter).

        And indeed, Guo—or people acting on his behalf—has apparently paid for retained counsel
in this criminal case for at least several years following his sworn declaration to the Bankruptcy
Court in February 2022. See In re Ho Wan Kwok, No. 22-50073 (JAM), Dkt. 107 at ¶¶ 17-18
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(Bankr. D. Conn. Mar. 20, 2022). In that sworn statement, Guo asserted that he was forced to
avoid personal ownership of assets and that “[his] family, and particularly [his] son, provides for
[his] needs”—including litigation costs. See id.

        Guo’s CJA-23 financial affidavit is a cursory single-page document in which he claims to
have no personal assets. His barebones affidavit sheds no light on his family’s ability to continue
to finance his legal defense or funds that Guo may have transferred in order to claim indigence.
Here, “[i]t is appropriate for the Court, in determining [Guo’s] eligibility for appointment
of CJA or Federal Defenders counsel, to consider all of [Guo’s] resources as well as the resources
of family members.” United States v. Hadden, No. 20 Cr. 468 (RMB), 2020 WL 7640672, at *4
(S.D.N.Y. Dec. 23, 2020) (emphasis added). The Court may reject a defendant’s claim of
indigency when “he puts his own assets into his relatives’ names and those assets remain at his
disposal.” United States v. Rubinson, 543 F.2d 951, 964 (2d Cir. 1976)

        The Court may also “inquir[e] into whether there is available to defendant funds for his
defense from other sources” including “friends, trusts, estates, or defense funds.” United States v.
Martinez-Torres, 556 F. Supp. 1275, 1279 (S.D.N.Y. 1983) (Motley, C.J.). Evidence at trial
established that Guo’s family and supporters raised money to pay the legal bills of even his
peripheral associates, see Trial Tr. 5507:11-5509:24 (Scott Barnett’s testimony that a Guo lawyer
and Guo’s supporters raised significant sums for his attorneys’ fees), and the Court may
appropriately inquire if Guo is able to raise funds before he is awarded scarce public resources.

       The Public and Guo’s Victims Are Best Served by a Speedy Sentencing

        While further inquiry into Guo’s dubious claims for public funding would be appropriate,
they would also consume time that would be more justly spent on sentencing Guo and delivering
justice and compensation to his victims. The Government shares the Court’s concern that Guo is
seeking public funds to which he is not entitled, and refers the Court to its January 13, 2025 letter
explaining various safeguards that could be imposed to limit Guo’s ability to fraudulently obtain
a publicly financed legal defense. See id. at 6. But the Government is concerned that Guo’s
primary purpose in seeking to change counsel and apply for public funds is to delay his sentencing
proceedings. That is an improper purpose for a motion to change counsel, and “[j]udges must be
vigilant that requests for appointment of a new attorney . . . should not become a vehicle for
achieving delay.” United States v. Llanes, 374 F.2d 712, 717 (2d Cir. 1967).

       The public—and Guo’s victims—have “a significant interest in the finality of the verdict
and in getting [Guo] sentenced.” United States v. Sabir, 628 F. Supp. 2d 414, 417 (S.D.N.Y.
2007). Guo’s victims also have a statutory right “to full and timely restitution”—a process that
can only commence after imposition of sentence—and the “right to proceedings free from
unreasonable delay.” 18 U.S.C. § 3771(a)(6)-(7).

        Accordingly, the Government respectfully reiterates its recommendation that the Court
resolve Guo’s motion by requiring his retained trial counsel to remain engaged and by scheduling
a timely sentencing proceeding in this case. As described more fully in the Government’s January
13 letter, the Court may accomplish this by denying Guo’s motion in full, e.g., United States v.
Delva, No. 12 Cr. 802 (KBF), 2015 WL 756919, at *1 (S.D.N.Y. Feb. 19, 2015) (denying
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substitution motion made a week before sentencing where “appointment of new counsel at this
point would substantially and unnecessarily delay sentencing”), or by appointing additional
counsel to supplement rather than replace Guo’s trial counsel, e.g., United States v. El Bahnasawy,
813 F. App’x 721, 724 (2d Cir. 2020) (affirming order for trial counsel “to continue representing
[defendant] alongside substitute counsel” where motion made “about a month” before sentencing
and “substitute counsel had, understandably, yet to demonstrate an appreciation of the record”).


                                            Respectfully submitted,


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